                 Case 1:10-cr-00251-JRH-BKE Document 939 Filed 10/14/15 Page 1 of 1
                                                          lo l8 U.s.C.$ 3t82(c)(2)
                                           RedrctionPursuanl
                          Motionfor Sentence
Ao 241(10111)OrderRegardins                                                                                               (Pase2 Nol for PublicDisclosure)

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                                                      UNITED STATESDISTRICTCOURT                              i,lr:iUiiA 8lV.
                                                                 for the
                                                                                                     2li;:CTlrr iHll:Ltr
                                                           SouthemDistrict of Georgia
                                                              Augusta Divisiot                     :L l.ll(
                    United Statesof America                                                               lc. tlls ijT {jA,
                                                                               CaseNoi 1:10CR00251-10
                         Chris Antonio Moss
                                                                           ) ustr,tNo; 16703-021
DateofOdginalJudgment:        September14,201I                             ) JeffrevE. Johnston
Dateof Previous
              Amended
                    Judgment:                                              )            Attorney
                                                                               Defendant's

lLse DaE af Last Anended Judgnent {Anf)


                     Order Regarding Motion for SentenceReduction Pursuant to 18 U.S.C.$ 3582(cX2)

        Upon motion of fltne defendantnthe Directorof the Bureauof Prisons@the Court under 18 U.S.C.
$ 35S2(cX2)for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrangethat has
subsequentlybeen lowered and made retroactiveby the United StatesSentencingCommissionpursuantto 28 U S.C.
g 994(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ 181.10 and
the sentencingfactors set forth in 18 U.S.C. $ 3553(a), to the extentthat they are applicable,
IT lS ORDIRED that the motion is:
                                                                                   (asre1tected
                                                                                            inthetastiudenent
fl OENIEO. ! Cne.Nfel and the defendant'spreviously imposedsentenceof imprisonment
              *sueQ of         months is reduced to


                                             (CompletePqrts I and II of Page 2 when motion is grqnted)




Except as otherwiseprovided above, all provisions ofthe judgment dated                                                    in effect.

IT IS SO ORDERED.

Order Date:



                                                                               J. RandalHall
EffectiveDate:           Novemberl. 2015                                       United StatesDistrict Judse
                     6fdifferent liom order date)
